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 3                           IN THE UNITED STATES DISTRICT COURT
 4                             EASTERN DISTRICT OF CALIFORNIA
 5
                                            )
 6   UNITED STATES OF AMERICA,              ) CASE NO. 2:07-CR-00314-KJM
                                            )
 7                            Plaintiff,    )
                                            )
 8                      v.                  ) ORDER
                                            )
 9   JOSE LUIS MORALES,                     )
                                            )
10                            Defendant.    )
                                            )
11                                          )
12

13        The United States’ Motion to Dismiss the Indictment only as it
14   relates to defendant Jose Luis Morales is GRANTED.
15   Dated:     September 4, 2015.
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18                                              UNITED STATES DISTRICT JUDGE

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